1     Kristin A. Zilberstein, Esq. (SBN: 47798)
      LAW OFFICES OF MICHELLE GHIDOTTI
2     1920 Old Tustin Ave.
3     Santa Ana, CA 92705
      Ph: (949) 427-2010 ex. 1013
4     Fax: (949) 427-2732
      kzilberstein@ghidottilaw.com
5
6     Attorney for Secured Creditor
      HMC Assets, LLC solely in its capacity as separate trustee of
7     CAM XVIII Trust
8
                              UNITED STATES BANKRUPTCY COURT
9
                              WESTERN DISTRICT OF WASHINGTON
10
                                         SEATTLE DIVISION
11
12    In Re: Steven Jay Cunningham                      )   CASE NO.: 18-11167
13                                                      )
                                                        )
14                                                      )   CHAPTER 13
                                                        )
15
             Debtor.                                    )   OBJECTION TO AMENDED
16                                                      )   CHAPTER 13 PLAN
                                                        )
17                                                      )   341(a) Meeting of Creditors:
                                                        )   Date: 4/30/18
18
                                                        )   Time: 9:45 AM
19                                                      )   Place: U.S. Courthouse, Room 4107
                                                        )
20                                                      )   Confirmation Hearing:
21                                                      )   Date: 7/19/18
                                                        )   Time: 9:30 AM
22                                                      )   Ctrm: 7206
                                                        )   Place: U.S. Courthouse, Judge
23                                                      )          Alston’s Courtroom
24                                                      )
                                                        )   Judge: Christopher M Alston
25                                                      )
26
27
28




                                                    1                                          18-11167
                                                                                Objection to Plan
     Case 18-11167-CMA       Doc 42     Filed 07/16/18      Ent. 07/16/18 16:29:44   Pg. 1 of 17
1     TO ALL PARTIES IN INTEREST AND TO THEIR ATTORNEYS OF RECORD:
2        HMC Assets, LLC solely in its capacity as separate trustee of CAM XVIII Trust, its
3     successors and/or assignees, (“Secured Creditor”) in the above-entitled Bankruptcy
4     proceeding, hereby submits the following Objections to Confirmation of the Chapter 13 Plan
5     proposed by (“Debtor”) Steven Jay Cunningham.
6
             Secured Creditor is entitled to receive payments pursuant to a Promissory Note which
7     matures on 08/01/2047 and is secured by a Deed of Trust on the subject property commonly
8     known as 9369 31st Street Seattle, Washington 98126. As of 3/22/18, the approximate amount
9     in default was $220,830.72, as described in the Proof of Claim filed by Secured Creditor;
10    Secured Creditor files this Objection to protect its interests.
11                                              ARGUMENT
12           Under 11 U.S.C. §1325, the provisions for plan confirmation in a Chapter 13 have been
13    set. Unless otherwise ordered, under 11 U.S.C. § 1326(a)(1), the Debtor shall commence making
14    the payments proposed by the Plan within 30 days after the Petition is filed. The Plan must
15    comply with all applicable provisions of 11 U.S.C. § 1325 to be confirmed. Based on the
16    foregoing, as more fullyg detailed below, the Plan cannot be confirmed as proposed.
17
18           A. THE PLAN IS NOT CONFIRMABLE BECAUSE IT IS SPECULATIVE
19           Debtor proposes to address Secured Creditor’s arrears in two ways. First, debtor’s plan
20    states they will seek a mortgage modification. It is highly implausible that debtor will be able
21    to obtain a mortgage modification because debtor already applied for and was denied a
22    modification in Febrary 2018, shortly before filing for bankruptcy. A true and correct copy of
23    the letter sent to debtor in February 2018 denying a mortgage modification is attached Exhibit
24    1. Secured Creditor objects to this provision as it is too speculative and is not allowed under
25    the Bankruptcy Code and current case law. It is too speculative to just state in a plan that the
26    Debtor will try to obtain a mortgage modification in order to pay the secured claim,
27    particularly when debtor has already been denied a mortgage modification
28           Secured Creditor objects to this treatment as speculative and prejudicial. Debtor may
      not premise the cure of Secured Creditor’s arrears on a highly implausible speculative event.


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                                                                                     Objection to Plan
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1     Courts have long held that a plan should be not be confirmed where it is proposing a balloon
2     payment or otherwise is contingent on a speculative event to take place in during the life of the
3     plan. See In Re Gavia (9th Cir. BAP 1982) 24 BR 573,574; In Re Nantz (BC ED MO 1987) 75
4     BR 617, 618-619; In Re Fantasia (1st Cir. BAP 1997) 211 BR 420,424; In Re Craig (BC ND
5     OH 1990) 112 BR 224,225.
6            The Plan does not address what the Debtor proposes to do if he is unable to obtain a
7     mortgage modification. This provision puts the feasibility of the entire Amended Plan in
8     question since it is contingent upon a speculative event.
9            Additionally the schedule of payments that debtor proposes is highly speculative. Debtor
10    has not made a mortgage payment since June of 2009. Despite his inability to make any
11    payments for nearly a decade his plan has him paying his monthly mortgage payment plus more
12    than $3,000 a month in arrearages payments in just 12 months. Presumably, as the debtor is self
13    employed, he is premising his ability to make these payments on an increase in business. But
14    that increase is speculative. Historically, Debtor’s business practices do not demonstrate the
15    possibility of such an increase. Moreover, Debtor has not provided any evidence of the ability
16    to do so. This provision puts the feasibility of the entire Amended Plan in question since it is
17    contingent upon a speculative event.
18
19           B. THE PLAN IS NOT FEASIBLE – DEBTOR DOES NOT HAVE SUFFICIENT
20               INCOME
21           Pursuant to Schedules I and J, Debtor has net income of $1915.00. See Exhibit “2”
22    Schedules I and J. Based on the petition, Debtor is proposing to contribute more than his
23    entire net income to the trustee each month. Debtor does not have sufficient net income for
24    plan payments during the first 12 months of the plan when the proposed plan payment is
25    $2,230. The plan payments only increase as the plan goes on. If Debtor does not have
26    sufficient income to make plan payments now he certainly doesn’t have sufficient income to
27
      make the proposed payments 12 months from now when they more than double. Thus, Debtor
28
      does not have sufficient net income for a Chapter 13 Plan, and the case should be dismissed or

      converted under these circumstances.

                                                      3                                            18-11167
                                                                                    Objection to Plan
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1
2            C. DEBTOR’S PROPOSED CHAPTER 13 PLAN VIOLATES PROVISIONS
3                OF THE FEDERAL BANKRUPTCY CODE AND 9TH CIRCUIT CASE
4                LAW, AND THEREFORE SHOULD NOT BE CONFIRMED - DEBTOR IS
5                REQUIRED TO MAKE EQUAL MONTHLY PAYMENTS TOWARDS THE
6                SECURED CLAIM AMOUNT FOR THE FULL DURATION OF THE PLAN
7
             The Debtor must pay the creditor the secured value of the lien in equal installments
8
      over the life of the plan, and not, as Debtor proposes, via dramatic periodic increases in
9
      payment amounts. 11 U.S.C. 1325(a)(5)(B) “requires bankruptcy courts to ensure that the
10
      property to be distributed to a particular secured creditor over the life of a bankruptcy plan has
11
      a total "value, as of the effective date of the plan," that equals or exceeds the value of the
12
      creditor's allowed secured claim.” Till v. SCS Credit Corp., 541 U.S. 465, 474 (U.S. 2004).
13
      Even more to the point, 11 U.S.C. 1325(a)(5)(B)(iii)(I) states, “property to be distributed
14
      pursuant to this subjection is in the form of periodic payments, such payments shall be in equal
15
      monthly amount.” Because the Plan does not provide for equal monthly payments towards
16
      secured creditor’s claim is not feasible and cannot be confirmed.
17
18
      ////
19
      ////
20
      ////
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23
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      ////
26
                                               CONCLUSION
27
             Any Chapter 13 Plan proposed by the Debtor must provide for and eliminate the
28
      Objections specified above in order to be reasonable and to comply with applicable provisions



                                                        4                                             18-11167
                                                                                       Objection to Plan
     Case 18-11167-CMA         Doc 42     Filed 07/16/18      Ent. 07/16/18 16:29:44        Pg. 4 of 17
1     of the Bankruptcy Code. Secured Creditor respectfully requests that confirmation of the Chapter
2     13 Plan as proposed by the Debtor be denied.
3            WHEREFORE, Secured Creditor prays as follows:
4            1.     Confirmation of the Proposed Chapter 13 Plan be denied,
5            2.     For attorneys’ fees and costs herein, and
6            3.     For such other relief as this Court deems proper.
7
8     Dated: June 15, 2018                 LAW OFFICES OF MICHELLE GHIDOTTI

9
10                                                /s/ Kristin A. Zilberstein
                                                  Kristin A. Zilberstein, Esq.
11                                                Counsel for HMC Assets, LLC solely in its
12                                                capacity as separate trustee of
                                                  CAM XVIII Trust
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                                                     5                                           18-11167
                                                                                  Objection to Plan
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 EXHIBIT “1”




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                                                                                                                   BSI Financial Services
                                                                                          314 S Franklin St. / Second Floor PO Box 517
                                                                                                                      Titusville PA 16354
                                                                                                                Toll Free: 800-327-7861
                                                                                                                      Fax: 814-217-1366
                                                                                                                    Myloanweb.com/BSI




NON-APPROVAL, NOT ELIGIBLE FOR ALTERNATIVE TO FORECLOSURE

February 15, 2018
                                                                                          [Sent Via First Class Mail/FedEx/Fax/Etc.]
STEVEN J CUNNINGHAM
9369 31ST PL SW
SEATTLE, WA 98126

                                                             Re: Result Following Review of Loss Mitigation Application
                                                                                   Property Address - 9369 31ST PL SW
                                                                                                  SEATTLE, WA 98126
                                                                                                  Loan #: REDACTED

Dear STEVEN J CUNNINGHAM:

Thank you for contacting us about your mortgage. Based on a careful review of the information you
provided to us, unfortunately you are not eligible for mortgage payment assistance. Our review of your
financial and other information indicates that you have sufficient financial ability to pay your mortgage.
Your mortgage payment was due on March 1, 2018. In addition, your account has accrued late charges of
$7,713.93. It is important that you make your full mortgage payment and late charges in the amount of
$218,255.15, immediately.

We recognize that this may be disappointing news for you. However, in order to avoid the negative
impacts to your credit rating resulting from late payments and to avoid foreclosure, it is important that
you make the full payment listed above as quickly as possible and continue to make your mortgage
payment by the scheduled due date.

Please send your payment in the full amount due to:
BSI Financial Services
314 S. Franklin St. 2nd Floor
PO Box 517
Titusville PA 16354

If you have questions about your mortgage payment, please contact us at 1-800-327-7861. If you have
concerns about the evaluation of your mortgage for foreclosure alternatives, then please contact KENYA
INGRAM at 1-866-949-0136 Ext. 3731.




Licensed as Servis One, Inc. dba BSI Financial Services.
BSI Financial Services NMLS # 38078. Customer Care Hours: Mon. - Fri. 8:00 am to 11:00 pm (ET) and Sat. 8:00 am to 12:00 pm (ET).
If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge
of your personal liability for the obligation identified in this letter, we may not and do not intend to pursue collection of that obligation
from you personally. If either of these circumstances apply, this notice is not and should not be construed to be a demand for payment
from you personally. Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing,
whatever rights we hold in the property that secures the obligation remain unimpaired.
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                                                                                                                   BSI Financial Services
                                                                                          314 S Franklin St. / Second Floor PO Box 517
                                                                                                                      Titusville PA 16354
                                                                                                                Toll Free: 800-327-7861
                                                                                                                      Fax: 814-217-1366
                                                                                                                    Myloanweb.com/BSI




Additional Information and Legal Notices

You were evaluated for mortgage payment assistance based on the eligibility requirements of HMC
ASSETS, LLC SOLELY IN ITS CAPACITY AS SEPARATE TRUSTEE OF CAM XVIII TRUST the owner of your
mortgage loan.

Based on our review of your financial circumstances, although you may have a hardship, you are not
eligible for the following loan modification option(s):

Your monthly income was calculated at $2,478.90. The investor of your loan does not participate in non-
obligor contributions. The investor is HMC ASSETS, LLC SOLELY IN ITS CAPACITY AS SEPARATE TRUSTEE
OF CAM XII TRUST

         Insufficient Income
         Excessive Arrears
         Excessive Obligation

The following foreclosure prevention alternatives may be available to you:
   • Payoff
   • Reinstatement

Right to Appeal

You have the right to appeal our determination not to offer you the loan modification option(s) listed
above. If you would like to appeal, you must contact us in writing at the address provided below, no
later than March 1, 2018 and state that you are requesting an appeal of our decision. You must include
in the appeal your name, property address, and mortgage loan number. You may also specify the
reasons for your appeal, and provide any supporting documentation. Your right to appeal expires March
1, 2018. Any appeal requests or documentation received after March 1, 2018 may not be considered.

If you elect to appeal, we will provide you a written notice of our appeal decision within 30 calendar
days of receiving your appeal. Our appeal decision is final, and not subject to further appeal.

If you elect to appeal, you do not have to make the full mortgage payment amount until resolution of
the appeal. If we determine on appeal that you are eligible for a loan modification option, we will send
you an offer for that option. In that case, you may choose to make the full mortgage payment amount
(including any delinquent amounts and late charges that have accrued during the appeal process) or
accept the new loan modification offer by contacting us at 1‐800-327-7861 or in writing at BSI Financial
Services, 314 S. Franklin St. 2nd Floor, PO Box 517, Titusville PA 16354 no later than 14 calendar days
from the date of the appeal decision.
Licensed as Servis One, Inc. dba BSI Financial Services.
BSI Financial Services NMLS # 38078. Customer Care Hours: Mon. - Fri. 8:00 am to 11:00 pm (ET) and Sat. 8:00 am to 12:00 pm (ET).
If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge
of your personal liability for the obligation identified in this letter, we may not and do not intend to pursue collection of that obligation
from you personally. If either of these circumstances apply, this notice is not and should not be construed to be a demand for payment
from you personally. Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing,
whatever rights we hold in the property that secures the obligation remain unimpaired.
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                                                                                                                   BSI Financial Services
                                                                                          314 S Franklin St. / Second Floor PO Box 517
                                                                                                                      Titusville PA 16354
                                                                                                                Toll Free: 800-327-7861
                                                                                                                      Fax: 814-217-1366
                                                                                                                    Myloanweb.com/BSI




If you wait to make the payment amount described above until after receiving our appeal decision, your
loan will become more delinquent. Any unpaid interest, and other unpaid amounts, such as escrows for
taxes and insurance, will continue to accrue on your mortgage loan during the appeal, and will be added
to the total amount due to bring your loan current.


Sincerely,

BSI Financial Services
Kenya Ingram
Loss Mitigation Specialist
REDACTED

This is an attempt to collect a debt. Any information obtained will be used for that purpose.

If an attorney represents you, please refer this letter to your attorney and provide us with the attorney’s name,
address and telephone number.


                                                                                                                     REDACTED
                                                                                                                         -




Licensed as Servis One, Inc. dba BSI Financial Services.
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If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge
of your personal liability for the obligation identified in this letter, we may not and do not intend to pursue collection of that obligation
from you personally. If either of these circumstances apply, this notice is not and should not be construed to be a demand for payment
from you personally. Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing,
whatever rights we hold in the property that secures the obligation remain unimpaired.
                                                                                                                                  Page 3 of 4
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                                                                                                                   BSI Financial Services
                                                                                          314 S Franklin St. / Second Floor PO Box 517
                                                                                                                      Titusville PA 16354
                                                                                                                Toll Free: 800-327-7861
                                                                                                                      Fax: 814-217-1366
                                                                                                                    Myloanweb.com/BSI




                        Qualified Written Request - Notice of Error or Information Request

Under the Real Estate Settlement Procedures Act, a qualified written request is a written correspondence
(other than notice on your payment coupon or other payment medium supplied by us) regarding the
servicing of your loan which identifies your name, account number, and the specific reasons for the
request, such as an error on your loan account or a request for information. Any qualified written request
you wish to submit must be sent to:

                                                      BSI Financial Services
                                                Attn: Qualified Written Requests
                                                1425 Greenway Drive, Suite 400
                                                        Irving, TX 75038

Attention Servicemembers and Dependents: Servicemembers on active duty, or a spouse or dependent
of such a servicemember, may be entitled to certain protections under the Servicemembers Civil Relief
Act (“SCRA”) regarding the servicemember’s interest rate and risk of foreclosure. SCRA and certain state
laws provide important protections for you, including prohibiting foreclosure under most circumstances.
If you are currently in the military service, or have been within the last 12 months, AND joined after signing
the Note and Security Instrument now in default, please notify BSI Financial Services immediately. When
contacting BSI Financial Services, as to your military service, you must provide positive proof as to your
military status. Servicemembers and dependents with questions about the SCRA should contact their
unit’s Judge Advocate, or their installation’s Legal Assistance Officer. Homeowner counseling is also
available at agencies such as Military OneSource (www.militaryonesource.mil) (800-342-9647) and Armed
Forces Legal Assistance (http://legalassistance.law.af.mil), and through HUD-Certified housing counselors
(http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm). You can also contact us toll free at (800) 327-7861 if
you have questions about your rights under SCRA.




Licensed as Servis One, Inc. dba BSI Financial Services.
BSI Financial Services NMLS # 38078. Customer Care Hours: Mon. - Fri. 8:00 am to 11:00 pm (ET) and Sat. 8:00 am to 12:00 pm (ET).
If you have filed a bankruptcy petition and there is an "automatic stay" in effect in your bankruptcy case or you have received a discharge
of your personal liability for the obligation identified in this letter, we may not and do not intend to pursue collection of that obligation
from you personally. If either of these circumstances apply, this notice is not and should not be construed to be a demand for payment
from you personally. Unless the Bankruptcy Court has ordered otherwise, please also note that despite any such bankruptcy filing,
whatever rights we hold in the property that secures the obligation remain unimpaired.
                                                                                                                                  Page 4 of 4
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  EXHIBIT “2”




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Fill in this information to identify your case:

Debtor 1                      Steven Jay Cunningham

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       WESTERN DISTRICT OF WASHINGTON

Case number               18-11167                                                                       Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status
                                                                      Not employed                                 Not employed
       information about additional
       employers.
                                             Occupation            Landscaper
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Self-employed

       Occupation may include student        Employer's address
                                                                   9369 31st Place SW
       or homemaker, if it applies.
                                                                   Seattle, WA 98126

                                             How long employed there?         17 years

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $              0.00       $              N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$             N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $           0.00              $         N/A




Official Form 106I                                                      Schedule I: Your Income                                                     page 1

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                                                                                                                                               37
Debtor 1    Steven Jay Cunningham                                                                 Case number (if known)    18-11167


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             N/A

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.        $              0.00     $               N/A
      5b.   Mandatory contributions for retirement plans                                   5b.        $              0.00     $               N/A
      5c.   Voluntary contributions for retirement plans                                   5c.        $              0.00     $               N/A
      5d.   Required repayments of retirement fund loans                                   5d.        $              0.00     $               N/A
      5e.   Insurance                                                                      5e.        $              0.00     $               N/A
      5f.   Domestic support obligations                                                   5f.        $              0.00     $               N/A
      5g.   Union dues                                                                     5g.        $              0.00     $               N/A
      5h.   Other deductions. Specify:                                                     5h.+       $              0.00 +   $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $      3,250.00         $               N/A
      8b. Interest and dividends                                                           8b.        $          0.00         $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00     $               N/A
      8d. Unemployment compensation                                                        8d.        $              0.00     $               N/A
      8e. Social Security                                                                  8e.        $              0.00     $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                 N/A
      8g. Pension or retirement income                                                     8g. $                     0.00   $                 N/A
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          3,250.00         $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              3,250.00 + $              N/A = $         3,250.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.   $         3,250.00
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain: business income is seasonal. The income provided is the average income per month minus
                             business expenses over a 12 month span.




Official Form 106I                                                     Schedule I: Your Income                                                       page 2

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                                                                                                                                            37
Fill in this information to identify your case:

Debtor 1                 Steven Jay Cunningham                                                             Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   WESTERN DISTRICT OF WASHINGTON                                             MM / DD / YYYY

Case number           18-11167
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s      Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age              live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                                  0.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            25.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




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Debtor 1     Steven Jay Cunningham                                                                     Case number (if known)      18-11167

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 175.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 150.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 265.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                325.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 20.00
10.   Personal care products and services                                                    10. $                                                  25.00
11.   Medical and dental expenses                                                            11. $                                                   0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 125.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                  50.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                   50.00
      15c. Vehicle insurance                                                               15c. $                                                  125.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       1,335.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       1,335.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,250.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              1,335.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              1,915.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




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 1     Kristin A. Zilberstein, Esq. (SBN: 47798)
       LAW OFFICES OF MICHELLE GHIDOTTI
 2     1920 Old Tustin Ave.
 3     Santa Ana, CA 92705
       Ph: (949) 427-2010 ex. 1013
 4     Fax: (949) 427-2732
       kzilberstein@ghidottilaw.com
 5
 6     Attorney for Secured Creditor
       HMC Assets, LLC solely in its capacity as separate trustee of
 7     CAM XVIII Trust
 8
                                 UNITED STATES BANKRUPTCY COURT
 9
                     WESTERN DISTRICT OF WASHINGTON – SEATTLE DIVISION
10
11     In Re:                                               )   CASE NO.: 18-11167-CMA
12                                                          )
       Steven Jay Cunningham,                               )   CHAPTER 13
13                                                          )
                Debtors.                                    )   CERTIFICATE OF SERVICE
14
                                                            )
15                                                          )
                                                            )
16                                                          )
                                                            )
17
                                                            )
18                                                          )
                                                            )
19
20
                                        CERTIFICATE OF SERVICE
21
22              I am employed in the County of Orange, State of California. I am over the age of
23     eighteen and not a party to the within action. My business address is: 1920 Old Tustin Ave.,
24
       Santa Ana, CA 92705.
25
                I am readily familiar with the business’s practice for collection and processing of
26
27     correspondence for mailing with the United States Postal Service; such correspondence would

28     be deposited with the United States Postal Service the same day of deposit in the ordinary

       course of business.

                                                        1
                                      CERTIFICATE OF SERVICE
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 1     On July 16, 2018 I served the following documents described as:
 2                   OBJECTION TO AMENDED CHAPTER 13 PLAN
 3
       on the interested parties in this action by placing a true and correct copy thereof in a sealed
 4
       envelope addressed as follows:
 5
 6     (Via United States Mail)
       Debtor                                               Chapter 13 Trustee
 7     Steven Jay Cunningham                                K Michael Fitzgerald
       9369 31st Place SW                                   600 University St #1300
 8
       Seattle, WA 98126-3938                               Seattle, WA 98101
 9
       Debtor’s Counsel                                     U.S. Trustee
10     Justin I Mishkin                                     United States Trustee
11     Integrity Law Group PLLC                             700 Stewart St Ste 5103
       2033 6th Ave, Suite 920                              Seattle, WA 98101
12     Seattle, WA 98121
13     _xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
14     the United States Postal Service by placing them for collection and mailing on that date
       following ordinary business practices.
15
       ______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
16     Eastern District of California
17
       __xx_(Federal) I declare under penalty of perjury under the laws of the United States of
18     America that the foregoing is true and correct.
19            Executed on July 16, 2018 at Santa Ana, California
20
       /s / Jeremy Romero
21     Jeremy Romero
22
23
24
25
26
27
28




                                                        2
                                     CERTIFICATE OF SERVICE
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